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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

ALLIANCE FOR AUTOMOTIVE
INNOVATION

                   Plaintiff,

       vs.                                            C.A. No. 1:20-cv-12090-DPW

MAURA HEALEY, ATTORNEY GENERAL
OF THE COMMONWEALTH OF
MASSACHUSETTS in her official capacity,

                   Defendant.


       PLAINTIFF’S PROPOSED SCHEDULE FOR FURTHER PROCEEDINGS

       Despite good faith negotiations, the parties were unable to reach agreement on a proposed

schedule for further proceedings in this matter. Plaintiff Alliance for Automotive Innovation

(“Auto Innovators” or “Plaintiff”) therefore makes this submission to set forth its proposed

schedule for the two issues requested by the Court: (a) the proper interpretation of the initiative

language; and (b) the steps taken by the parties, if any, to implement the initiative’s requirements.

       A. The Proper Interpretation of the Initiative Language

       On September 6, 2022, the Attorney General provided Plaintiff with a document setting

forth the Attorney General’s interpretation of certain terms and provisions of the Data Access Law.

However, that document (attached here as Ex. 1) largely reiterates the Attorney General’s litigation

positions at trial, avoids interpreting certain provisions of the Data Access Law entirely, and in

many places fails to provide any meaningful, practical interpretation. For example, the Attorney

General’s document fails to meaningfully clarify the Attorney General’s position on what role, if

any, an OEM is permitted under Section 2 of the Law, to have in authorization and/or

authentication.


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       The Attorney General also fails to provide practical interpretations of provisions in the

initiative. For instance, automakers can comply with Section 2 if they provide for an “authorization

system for access to vehicle networks and their on-board diagnostic systems [that] is standardized

across all makes and models sold in the Commonwealth and is administered by an entity

unaffiliated with a manufacturer.” Does that mean sold in the Commonwealth by just the specific

OEM or by all OEMs? In other words, in order for an OEM to make use of this clause, must every

single automaker whose vehicles are sold in the Commonwealth (whether new or used) agree to

utilize the same authorization system?

       While it remains the Plaintiff’s position that the OEMs cannot comply with the plain

language of the Data Access Law without violating their safety obligations under the Vehicle

Safety Act, Plaintiff understood the Court to request a more robust discussion of the statutory

interpretation issues that hopefully could narrow areas of disagreement. We are not off to an

encouraging start.

       Worse, the Attorney General couples her reiterated interpretations with an accelerated

schedule that will ensure this endeavor fails. The Attorney General’s proposed schedule simply

does not allow time for a deeper dive on these interpretation questions. Thus, Plaintiff proposes

that: (1) Plaintiff shall have until September 22, 2022 to serve the Attorney General with a response

to the Attorney General’s document, identifying areas of agreement and disagreement and where

more clarification is needed, and also proposing interpretations of other language in the Data

Access Law not currently addressed in the Attorney General’s document; (2) the parties thereafter

engage in back and forth discussions to try to further narrow the areas of disagreement and clarify

the language; and (3) on or before October 14, 2022, the parties file a single document which

identifies any areas of agreement and, for each area of disagreement, presents each side’s proposed



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interpretation of the Data Access Law. Even this is an ambitious schedule given the Attorney

General’s opening salvo. But it is a more realistic one.

        In proposing this schedule, we recognize that the Court had previously indicated it hoped

to have a submission on this issue by the end of September. But given the work to be done, Plaintiff

respectfully submits that the additional two weeks would be worthwhile, and would not prejudice

any party.

        B. The Steps Taken By the Parties, If Any, To Implement The Initiative’s Requirements

        The Attorney General’s unrealistic schedule also extends to the compliance issue the Court

raised. During the hearing and in the Clerk’s notes thereafter, the Court indicated that it wanted

both sides to explain any compliance efforts. Sept. 1, 2022 Hearing Tr. at 9-10 (“So I want to know

what the two representative parties have been doing since the statute had its effective date which,

with the forbearance of the Attorney General, has not been executed upon.”); id. at 24 (seeking

evidence about what the Attorney General has done since the Data Access Law’s effective date to

“evidence your unbridled enthusiasm to get going on this”); ECF 279 (Clerk’s notes of the hearing

directing both parties to make submissions on “the steps, if any, by the parties to implement the

initiative’s requirements”).1 Also during the hearing, the Attorney General suggested that a proper

way to proceed would be to have parties submit reports describing any compliance efforts and then

follow up, if necessary, with depositions. Sept. 1, 2022 Hearing Tr. at 19-20 (proposing to get the

evidence by “requiring the two OEMs to submit reports to the Court on whatever compliance

options and then allowing us to take a 30(b)(6) of each of the OEMs after that”). In broad strokes—

and as described more fully below—Plaintiff agrees with that approach.


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 While the Attorney General agreed not to enforce the Data Access Law while the Court adjudicates its
enforceability (and that stay remains in effect), that stay would not, for example, prohibit the Attorney
General from seeking public comment on the notice provisions under Section 4, or from pursuing any
appropriate rule-making or other steps that would not take effect unless and until the stay is lifted.
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       Unfortunately, after the hearing, the Attorney General went a different direction. Without

seeking or obtaining leave to reopen discovery, the Attorney General sent Plaintiff proposed

interrogatories that are unworkable and objectionable. In addition to going far beyond what the

Court requested, they incorrectly assume, for example, that car companies have budgetary line

items and policies dedicated at compliance efforts with the Data Access Law. There are a number

of other problems with the interrogatories that will not be belabored here. The bottom line is that

the Court asked both sides to explain their position on compliance and the Attorney General should

not be allowed to put words in the car companies’ mouths. As the Attorney General correctly

suggested during the hearing, that explanation for the Plaintiff’s side should come from the

representative car companies themselves. And if the Attorney General decides she wants to follow-

up on that explanation with depositions, so be it.

       Thus, Plaintiff proposes that both parties shall have until October 31, 2022, to submit sworn

affidavits to the Court describing the steps taken, if any, to implement the initiative’s requirements.

After the submission of those affidavits, if either party determines that Rule 30(b)(6) depositions

are necessary to obtain further clarification of those points, Plaintiff proposes that the parties shall

have until November 30 to complete those depositions, and until December 20, 2022 to submit

any further briefing to the Court.

       This schedule is longer than the Attorney General hoped, but it too is more realistic than

her overly-ambitious schedule. For starters, the parties are no longer barreling toward an expedited

trial. Since that trial, Mark Chernoby—FCA’s main trial witness—has retired. It will take time to

find a replacement witness and get that witness up to speed, and work with them to develop the

affidavit described above. Though Kevin Tierney at GM has not retired and will re-engage with

counsel on these efforts, he and his team understandably have other important professional



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obligations that they must simultaneously address. And a hurried schedule here would prejudice

Plaintiff’s ability to provide the Court with the explanation requested. There is no reason for it.

         Instead, both sides should make sworn submissions on the one question the Court asked

them to address (namely, what efforts, if any, have been made to implement the initiative’s

requirements), and then if any further information is needed, depositions of those affiants can be

taken.

         Finally, and importantly, these compliance submissions will be far more meaningful if the

Parties have the benefit of any agreements reached on the interpretation of the Data Access Law

before the parties make submissions on what steps have been taken to implement it, as the

interpretation of the law is of course inextricably intertwined with the issue of compliance efforts.

                                            CONCLUSION

         For the foregoing reasons, Plaintiff requests that the Court enter the following Order:

                 1.      Plaintiff shall have until September 22, 2022 to serve on the Attorney

         General the Plaintiff’s views on the proper interpretation of the Data Access Law.

                 2.      The parties shall thereafter confer on the interpretation issues.

                 3.      On or before October 14, 2022, the parties shall submit a single document

         to the Court on the interpretation of the Data Access Law, identifying any areas of

         agreement, and for each area of disagreement, stating each Party’s proposed interpretation.

         Each Party may, at the same time, separately submit a brief explaining its proposed

         interpretation(s) in further detail.

                 4.      On or before October 31, 2022, each Party shall file sworn affidavits

         identifying the efforts, if any, made to implement the requirements of the Data Access Law.




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       5.      If either Party determines that further information is required, they shall

have until November 30, 2022 to conduct depositions of the other side’s affiants.

       6.      The Parties shall have until December 20, 2022 to submit any further

briefing to the Court.

       For the convenience of the Court, a proposed Scheduling Order is attached as

Exhibit 2.




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                                  Respectfully submitted,

                                  PLAINTIFF ALLIANCE FOR
                                  AUTOMOTIVE INNOVATION,

                                  By its attorneys,

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                                CERTIFICATE OF SERVICE

        I certify that on September 9, 2022, a true copy of this document will be sent
electronically by the ECF system to attorneys of record identified on the Notice of Electronic
Filing.


                                                    /s/ Laurence A. Schoen
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